   Case 3:08-cv-01735-G Document 29 Filed 09/28/10          Page 1 of 15 PageID 566


                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF TEXAS
                                DALLAS DIVISION
HERMAN BENSON, JR., Individually           §
and On Behalf of All Others Similarly      §
Situated,                                  §
                                           §
              Plaintiffs,                  §
         v.                                §          C.A. No. 3:08-CV-01735-G
                                           §
CSA – CREDIT SOLUTIONS OF                  §
AMERICA, INC.,                             §
                                           §
              Defendant.


               DEFENDANT’S REPLY BRIEF IN SUPPORT OF ITS
          MOTION TO VACATE ARBITRATOR’S CLAUSE CONSTRUCTION
        AWARD OR STAY THE PROCEEDINGS PURSUANT TO 9 U.S.C. §§ 10, 12


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12712925v.3
   Case 3:08-cv-01735-G Document 29 Filed 09/28/10                                       Page 2 of 15 PageID 567


                                           TABLE OF CONTENTS

         A.   This Court, Not the Arbitrator, Must Decide Whether CSA Consented to
              Class Arbitration. .....................................................................................................1

         B.   The Arbitrator Exceeded His Authority By Imposing Class Arbitration
              Without any Legitimate Contractual Basis for Doing So. .......................................4

              1.         Benson Fails To Identify any Material Differences Between This
                         Case and Stolt-Nielsen. ................................................................................5

              2.         The Arbitrator’s Reasons for Imposing Class Arbitration Lack any
                         Factual or Legal Support and Violate Stolt-Nielsen. ...................................6

         C.   If the Court Does Not Vacate the Award, It Should Stay the Arbitration So
              That CSA May Appeal the Issue to the Fifth Circuit. .............................................9

         D.   Conclusion .............................................................................................................10




                                                              ii
12712925v.3
    Case 3:08-cv-01735-G Document 29 Filed 09/28/10                                               Page 3 of 15 PageID 568




                                                        Table of Authorities

                                                                                                                                      Page(s)
FEDERAL CASES

First Options of Chicago, Inc. v. Kaplan,
    514 U.S. 938 (1995)...............................................................................................................2, 4

Granite Rock Co. v. Int’l Brotherhood of Teamsters,
   130 S.Ct. 2847 (2010)........................................................................................................3, 4, 7

Green Tree Fin. Corp. v. Bazzle,
   539 U.S. 444 (2003)...............................................................................................................2, 4

Jock v. Sterling Jewelers Inc.,
   Case No. 08-CV-2875 (S.D.N.Y. Jul. 26, 2010) .......................................................................8

New England Energy Inc. v. Keystone Shipping Co.,
   855 F.2d 1 (1st Cir. 1988)..........................................................................................................4

Pacheco v. Rice,
   966 F.2d 904 (5th Cir. 1992) ...................................................................................................10

Pedcor Mgmt. Co. Welfare Benefit Plan v. Nations Pers. of Tex., Inc.,
   343 F.3d 355 (5th Cir. 2003). ....................................................................................................2

Sims v. Housing. Auth. of El Paso,
   No. EP-10-CV-109-KC, 2010 WL 3221790 (W.D. Tex. Aug. 13, 2010)...............................10

Stolt-Nielsen S.A. v. AnimalFeeds Int’l Corp.,
    130 S.Ct. 1758 (2010)....................................................................................1, 2, 3, 4, 5, 6, 7, 8

Volt Information Sciences, Inc. v. Board of Trustees.,
   489 U.S. 468 (1989)...................................................................................................................8

Willins v. Credit Solutions of America, Inc.,
   Case No. 3:09-cv-01025-M .....................................................................................................10

FEDERAL STATUTES

9 U.S.C. § 12....................................................................................................................................9

OTHER AUTHORITIES

Restatement (Second) of Contracts § 204........................................................................................6




                                                                       iii
12712925v.3
      Case 3:08-cv-01735-G Document 29 Filed 09/28/10                           Page 4 of 15 PageID 569


                             IN THE UNITED STATES DISTRICT COURT
                             FOR THE NORTHERN DISTRICT OF TEXAS
                                       DALLAS DIVISION
HERMAN BENSON, JR., Individually                            §
and On Behalf of All Others Similarly                       §
Situated,                                                   §
                                                            §
                    Plaintiffs,                             §
           v.                                               §               C.A. No. 3:08-CV-01735-G
                                                            §
CSA – CREDIT SOLUTIONS OF                                   §
AMERICA, INC.,                                              §
                                                            §
                    Defendant.                              §


                 DEFENDANT’S REPLY BRIEF IN SUPPORT OF ITS
            MOTION TO VACATE ARBITRATOR’S CLAUSE CONSTRUCTION
          AWARD OR STAY THE PROCEEDINGS PURSUANT TO 9 U.S.C. §§ 10, 12

           The main theme of Benson’s Response is that Stolt-Nielsen1 has no bearing on this case.

Benson spends most of his time arguing, incorrectly, that the Supreme Court’s decision is subject

to legal principles that simply do not apply here. At the same time, he barely responds to CSA’s

overriding argument that the Arbitrator should never have decided the class-arbitration issue in

the first place. And when he does respond, he ultimately concedes that class arbitration is a

“question of arbitrability”—that is, a question the courts must decide. In the end, Benson fails to

justify the Arbitrator’s capricious findings and improvident reliance on legal doctrines that are

inapposite to this case. Because the Arbitrator exceeded his authority, his clause-construction

award (the “Award”) must be vacated.

A.         This Court, Not the Arbitrator, Must Decide Whether CSA Consented to Class
           Arbitration.
           Benson spends remarkably little time responding to CSA’s most basic point—i.e., that

the Arbitrator lacked jurisdiction to decide whether the parties agreed to class arbitration. As


1
    Stolt-Nielsen S.A. v. AnimalFeeds Int’l Corp., 130 S.Ct. 1758 (2010).




12712925v.3
    Case 3:08-cv-01735-G Document 29 Filed 09/28/10                              Page 5 of 15 PageID 570



CSA showed, the original rule was that courts, not arbitrators, must decide that issue.2 This rule

was consistent with the historical view that arbitrators should not determine the extent of their

own powers.3 The Fifth Circuit purported to change this rule in the Pedcor case4—but did so

based on the mistaken belief that the Supreme Court had changed the law in Bazzle.5 Because it

is now clear, in light of Stolt-Nielsen, that the law never in fact changed, Pedcor is without effect

under the Fifth Circuit’s well established rule of orderliness. The original rule thus prevails.6

         Benson ignores this reasoning altogether. He opens his argument with a straw man,

denying that Stolt-Nielsen definitively held that the courts are the proper decision-makers. In so

doing, he attacks an argument CSA never made.7 As stated, CSA’s actual argument is that Stolt-

Nielsen confirmed that Bazzle is not controlling8—a conclusion that renders Pedcor ineffectual

and restores the Fifth Circuit’s original jurisprudence. Benson never responds to that argument.

         Benson surmises instead that, had the Court in Stolt-Nielsen believed that courts are the

proper decision-makers, it “would have reviewed the issue de novo.”9 But that is precisely what

the Court did. Even the dissent recognizes this in its opening paragraph: “The Court prematurely

takes up that important question and, indulging in de novo review, overturns the ruling of

experienced arbitrators.”10 Given the Court’s de novo review, one could certainly conclude


2
  See CSA’s brief at 5-6.
3
   See AT&T Technologies, Inc. v. Comm’ns Workers of America, 475 U.S. 643, 651 (1986) (“The willingness of
parties to enter into agreements that provide for arbitration of specified disputes would be drastically reduced … if a
labor arbitrator had the power to determine his own jurisdiction.”) (internal quotations omitted); First Options of
Chicago, Inc. v. Kaplan, 514 U.S. 938, 945 (1995) (explaining why courts hesitate to allow arbitrators decide the
scope of their own powers).
4
  Pedcor Mgmt. Co. Welfare Benefit Plan v. Nations Pers. of Tex., Inc., 343 F.3d 355 (5th Cir. 2003).
5
  Green Tree Fin. Corp. v. Bazzle, 539 U.S. 444 (2003).
6
  See CSA’s brief at 6-9.
7
  Benson also ignores the fact that the Supreme Court did not have to reach that issue because—unlike this case—
the parties had expressly agreed to submit the class-arbitration question to the arbitration panel. But even then, the
Court went on to decide the issue itself. See Stolt-Nielsen at 1765.
8
   Stolt-Nielsen at 1772 (observing that the “baffled” parties—like the panel in Pedcor—“appear to have believed
that the judgment in Bazzle requires an arbitrator, not a court, to decide whether a contract permits class arbitration”
and finding that “Bazzle did not yield a majority decision on any of the three questions” before it—including
whether arbitrators may decide the class-arbitration issue).
9
  Response at 14.
10
   Stolt-Nielsen at 1777 (Ginsburg, J, dissenting).



                                                           2
12712925v.3
     Case 3:08-cv-01735-G Document 29 Filed 09/28/10                        Page 6 of 15 PageID 571



(even under Benson’s logic) that the Supreme Court does view the class-arbitration question as a

judicial one. But one may not conclude, as the Pedcor panel erroneously did, that the issue is

“for the arbitrator, not the courts, to decide.”11 Were that true, the Court would never have

undertaken a de novo review and decided the issue itself.

         Benson also asserts that courts may not decide the class-arbitration issue because it

involves only “the kind of arbitration proceeding the parties agreed to”—as if it were simply a

question of what procedural path the arbitration should take.12 But the majority in Stolt-Nielsen

rejected the same line of thought:

         The dissent minimizes these crucial differences [between bilateral and class
         arbitration] by characterizing the question before the arbitrators as being merely what
         “procedural mode” was available … . If the question were that simple, there would
         be no need to consider the parties’ intent with respect to class arbitration. …
         Contrary to the dissent, … we see the question as being whether the parties agreed to
         authorize class arbitration.13

         The Supreme Court’s language here is important for two reasons. First, as stated, the

Court itself decided the question, and thus one cannot conclude that the issue is reserved for

arbitrators. Second, in framing the issue as “whether the parties agreed to authorize class

arbitration,” the Court places the issue in the “arbitrability” category—i.e., the category of issues

that courts must decide. Even Benson ultimately defines the issue as “the arbitrability of class

claims.”14 On this point the parties can agree. And on this point, the debate ends, as the

Supreme Court has repeatedly held that courts (not arbitrators) must decide questions of

arbitrability.15 As the Court recently explained in Granite Rock Co. v. Int’l Brotherhood of

Teamsters,16 arbitration “is a way to resolve those disputes—but only those disputes—that the


11
   Pedcor at 359.
12
   Response at 15 n.9.
13
   Stolt-Nielsen at 1776 (italics in original; underscore added; citations omitted).
14
   Response at 14.
15
   See, e.g., AT&T Technologies, supra, 475 U.S. at 649 (“[T]he question of arbitrability … is undeniably an issue
for judicial determination.”).
16
   130 S.Ct. 2847 (2010).



                                                        3
12712925v.3
     Case 3:08-cv-01735-G Document 29 Filed 09/28/10                             Page 7 of 15 PageID 572



parties have agreed to submit to arbitration.”17 If the question here is whether the parties have

agreed to submit class claims to arbitration—which is how Stolt-Nielsen, CSA, and Benson all

define it—then this Court must decide it, not the Arbitrator.

         Granite Rock is also significant for another reason. The parties here disagree whether the

arbitration agreement applies to Benson’s claims only, or also to the claims of many other people

whom this Court never compelled to arbitration. Critically, this is the very kind of dispute

Granite Rock instructs courts to resolve:

         [O]ur precedents hold that courts should order arbitration of a dispute only where the
         court is satisfied that neither the formation of the parties’ arbitration agreement nor
         … its enforceability or applicability to the dispute is in issue. Where a party contests
         either or both matters, “the court” must resolve the disagreement.18

The Arbitrator thus lacked authority to resolve the parties’ dispute over whether the agreement

applies to “class claims.” The ensuing Award lacks effect and must therefore be vacated.

B.       The Arbitrator Exceeded His Authority By Imposing Class Arbitration Without any
         Legitimate Contractual Basis for Doing So.
         If Benson is to be believed, Stolt-Nielsen is meaningless. Benson’s arguments rest on the

notion that, while the Supreme Court requires some “contractual basis” for finding consent, it

does not define what that contractual basis must be.19 But while the Court did not reduce the

concept to a specific formula—hardly surprising given that each state has its own laws governing

contract construction20—it is safe to assume that the Court never intended to permit loopholes


17
   Id. at 2857 (emphasis in original) (quoting First Options, supra, 514 U.S. at 943).
18
   Id. at 2857-58 (italics in original; underscore added; citations omitted).
19
   See, e.g., Response at 7 n.2 (“[T]he Court had ‘no occasion to decide what contractual basis may support a finding
that the parties agreed to authorize class-action arbitration.’”), id. at 10 (“This is exactly what the Arbitrator did in
this case. He based his Award on that ‘something else’ identified by the Supreme Court in Stolt-Nielsen as
sufficient—a contractual basis.”).
20
   For example, in some states’ laws impose a default rule that silent contracts are read to authorize class arbitration.
See Bazzle at 450 (South Carolina Supreme Court held that silent contracts confer consent); cf. New England Energy
Inc. v. Keystone Shipping Co., 855 F.2d 1, 7 (1st Cir. 1988) (observing that consent is not a prerequisite to
consolidated arbitration under Massachusetts law). Critically, Texas is not one of those states—quite the opposite.
Texas courts will not add to a contract’s terms unless the added term was so clearly contemplated by the parties that
they deemed it unnecessary to express it. See CSA’s brief at 20-21. Those facts admittedly do not exist here.



                                                           4
12712925v.3
     Case 3:08-cv-01735-G Document 29 Filed 09/28/10                             Page 8 of 15 PageID 573



that would strip its decision of any significance. Yet that is effectively what Benson advocates

here.    He defends the Arbitrator’s decision not by showing how it upholds Stolt-Nielsen’s

prohibition against imposing class arbitration without consent, but by explaining how that

prohibition must yield to whatever doctrines an arbitrator decides to invoke.

         1.       Benson Fails To Identify any Material Differences Between This Case and
                  Stolt-Nielsen.
         Benson understandably wants to distinguish this case from Stolt-Nielsen. His central

point is that, unlike the Stolt-Nielsen claimants, he “has never conceded there was ‘no

agreement.’”21 But the absence of such a concession is immaterial here for two reasons. First,

the “stipulation” in Stolt-Nielsen is not as momentous as Benson seems to believe. There, the

claimant’s attorney declared that “[a]ll the parties agree that when a contract is silent on an issue

there’s been no agreement that has been reached on that issue.”22 The attorney then qualified his

statement by adding:          “It’s also undisputed that the arbitration clause here contains broad

language and this language should be interpreted to permit class arbitrations.”23 This watered-

down “stipulation” is no different from the Arbitrator’s view in this case—i.e., that the parties

never discussed class arbitration, but that the agreement is broad enough to encompass it.24

         Second, and more to the point, it makes no difference whether the parties stipulated that

they reached “no agreement,” because ultimately everyone agrees that they never discussed class

arbitration at all.      Not only did the Arbitrator so determine,25 but Benson himself agrees,

repeatedly describing the Arbitration Clause as a “contract of adhesion” in which the parties



21
   Response at 13.
22
   Stolt-Nielsen at 1766.
23
   Id. at 1781 (Ginsburg, J., dissenting).
24
   See CSA’s App’x at 8:23-24 (“[H]ere the arbitration agreement is completely silent on the question of whether
class arbitration is permitted.”); id. at 7:15-18 (“It is safe to assume that … the parties did not discuss whether their
arbitration agreement would authorize class arbitration.”); id. at 9:9-18 (finding that the phrase “any dispute or
claim” is broad language that permitted Arbitrator to supply an “omitted” term imposing class procedures).
25
   See id. at 7:15-18 (“It is safe to assume that … the parties did not discuss whether their arbitration agreement
would authorize class arbitration.”).



                                                           5
12712925v.3
     Case 3:08-cv-01735-G Document 29 Filed 09/28/10                          Page 9 of 15 PageID 574



never discussed anything at all.26 An undisputed finding that the parties did not contemplate

class arbitration in their discussions is every bit as good as a “stipulation” to the same effect.

Benson’s attempt to distinguish this case from Stolt-Nielsen thus fails.

           2.     The Arbitrator’s Reasons for Imposing Class Arbitration Lack any Factual
                  or Legal Support and Violate Stolt-Nielsen.
           CSA showed in its opening brief that the Arbitrator improperly used various legal devices

to supply a “missing” term he viewed as “essential” to the parties’ agreement, even though the

parties never discussed such a term. Like the arbitration panel in Stolt-Nielsen, the Arbitrator

failed to invoke any rule of law that “governs in [this] situation,” and failed to identify any

“‘default rule’ under which an arbitration clause is construed as allowing class arbitration in the

absence of express consent.”27 Instead, he arbitrarily declared class arbitration an “essential”

term of the agreement. Using that unsupported conclusion as a springboard, he employed

inapplicable legal principles to create an outcome that is both unjust and unimagined by the

parties.

           For example, CSA showed in its brief that the Arbitrator’s invocation of Restatement

(Second) of Contracts § 204 impermissibly creates a default rule that class arbitration will be

authorized unless expressly prohibited.28                    Benson responds by citing Stolt-Nielsen’s

unremarkable recognition that Section 204 does indeed apply “in certain contexts.”29 He then

glosses over the Court’s conclusion that Section 204 did not govern in that case, and fails to

justify its application here. And like the Arbitrator, he fails to explain how class arbitration is

26
   See Response at 7 (“[T]he parties never discussed [class arbitration] … as would always be the case in a contract
of adhesion in which no terms are discussed by its very nature.”) (emphasis in original); id. at 10, n.5 (“[T]he
Arbitrator was merely stating the obvious that … the parties understandably had not discussed [class arbitration].”).
Not only did the parties never discuss class arbitration, but Benson does not even remember signing the agreement
in the first place. See Benson’s Notice of Non-Opposition to Motion to Stay and Compel Arbitration at 1 (Benson
“did not recall signing such an [Arbitration] agreement before or during his employment or before filing suit.”)
(Docket No. 14). It is difficult to understand how Benson could have “consented” to class arbitration when he did
not discuss the matter and in fact did not remember the agreement at all.
27
   Stolt-Nielsen at 1768-69. Again, no such default rule exists in Texas. See note 20, supra.
28
   See CSA’s brief at 15-16.
29
   Stolt-Nielsen at 1775; Response at 9.



                                                         6
12712925v.3
     Case 3:08-cv-01735-G Document 29 Filed 09/28/10                        Page 10 of 15 PageID 575



“essential to a determination of [the parties’] rights and duties”—the only situation in which

Section 204 applies. Indeed, Benson cannot explain it, because there is no doubt that he can

determine his rights and duties without inviting a multitude of “absent class members” to the

proceedings.30 Class arbitration is therefore not “essential” to the agreement in any way; and

thus Section 204 cannot apply.31

         If the Arbitrator is allowed to impose class arbitration by capriciously declaring that class

arbitration is an “essential term” to a silent agreement, then Stolt-Nielsen is meaningless. Under

such a rule, contracting parties will end up being subjected to class arbitration unless they

expressly prohibit it in their arbitration agreements. Yet that is precisely the kind of rule Stolt-

Nielsen rejected:

         The critical point, in the view of the arbitration panel, was that petitioners did not
         “establish that the parties … intended to preclude class arbitration.” … The panel’s
         conclusion is fundamentally at war with the foundational FAA principle that
         arbitration is a matter of consent.32

The Arbitrator’s conclusion here likewise conflicts with the FAA, for the same reason.

         CSA has also provided several reasons why the Arbitrator disregarded Texas law by

misusing the doctrine of expressio unius est exclusio alterius (“EUEEA”). While Benson offers

his own view of how the doctrine works—without citing any authority—he misses the

fundamental point: EUEEA does not apply when, as here, the agreement is not ambiguous. The

Arbitrator never found that the agreement was ambiguous, and indeed Benson repeatedly argued

that it was not.33 Accordingly, there can be no dispute that the Arbitrator should never have used

30
   See Response at 24 (referring to the additional parties as “absent class members”). Notably, Benson wants to
compound the burden on CSA by seeking a Rule-23-style opt-out class action as opposed to an FLSA opt-in action.
31
   Also lost on Benson is the fact that the Supreme Court cites Section 204 while discussing whether the arbitrator
may “adopt such procedures as are necessary to give effect to the agreement.” Stolt-Nielsen at 1775. But as stated
above, the Court also says that imposing class arbitration is not a mere procedural question. Id. at 1776. Thus,
despite what Benson says, the Supreme Court’s discussion of Section 204 does not support any conclusion that
Section 204 may be used to impose class arbitration where the underlying agreement is silent and the parties never
even discussed the issue in the first place.
32
   Stolt-Nielsen at 1775 (emphasis in original).
33
   See Benson’s clause-construction memorandum at 2, 5, 10, 11 (attached to Benson’s Response as Exhibit B).



                                                        7
12712925v.3
     Case 3:08-cv-01735-G Document 29 Filed 09/28/10                          Page 11 of 15 PageID 576



EUEEA to foist class arbitration on CSA.34 Such improper use of inapplicable legal doctrines

merely moves the goalposts and impermissibly frustrates CSA’s legitimate expectations under

Texas law.35

         CSA also showed how the Arbitrator exceeded his powers by effectively punishing CSA

for pursuing its right to compel arbitration.36 The Arbitrator speculated that, because Benson

pleaded the case as a collective action, CSA must have consented to class proceedings when it

sought to compel arbitration.37 Benson now piles on, arguing that CSA should have taken

various steps to avoid such a result. His argument is deficient in several respects.

         First, this Court’s order compelling arbitration did not order anyone but Benson to file an

arbitration claim; nowhere did it refer to any putative class members.38 This is not surprising

given that: (1) no class had been certified; (2) Benson is the only person CSA moved to compel

to arbitration;39 and (3) Benson himself agreed he had filed the case improperly, explaining that

he did not recall his prior agreement “to arbitrate his claim”—i.e., no one else’s claims.40 Given

this record, the Arbitrator’s conjecture that CSA tacitly consented to class arbitration is utterly

unfounded and contrary to the undisputed facts.

         Second, although Benson now purports to critique CSA’s actions in seeking to compel

arbitration, he fails to recognize that his own omissions might easily be taken for sandbagging.

He suggests that CSA should have foreseen his attempt to pursue class arbitration and then acted


34
   As a related matter, CSA also showed that the “any and all claims” language in the Arbitration Clause cannot be
read to authorize class arbitration. CSA’s brief at 20. Benson tries to minimize Judge Rakoff’s opinion on this
subject in Jock v. Sterling Jewelers Inc., Case No. 08-CV-2875 (S.D.N.Y. Jul. 26, 2010) because at the time it was
an indicative opinion. But on August 6, 2010, Judge Rakoff converted the decision into a binding order. See Order
Vacating Award, Supp. App’x at 1. Importantly, Judge Rakoff is no stranger to Stolt-Nielsen; in fact, he was the
District Judge in that case whose decision the Second Circuit reversed and the Supreme Court then vindicated.
35
   Stolt-Nielsen at 1774-75 (“[C]ourts and arbitrators must ‘give effect to the contractual rights and expectations of
the parties.’”) (quoting Volt Information Sciences, Inc. v. Board of Trustees., 489 U.S. 468, 479 (1989)).
36
   See CSA’s brief at 23.
37
   CSA’s App’x at 11:4-14.
38
   Docket No. 15.
39
   Docket No. 7.
40
   See Notice of Non-Opposition at 1 (Docket No. 14) (emphasis added).



                                                          8
12712925v.3
     Case 3:08-cv-01735-G Document 29 Filed 09/28/10                           Page 12 of 15 PageID 577



to forestall it—but he forgets that he never made his intentions known until after this Court

entered its order. Had Benson disclosed his plan earlier or notified this Court that he intended to

proceed on a class-wide basis, then perhaps CSA or the Court could have addressed the issue

back then (as Granite Rock instructs), thereby avoiding the present dispute. As it stands, Benson

chose to obscure his agenda, file a “Notice of Non-Opposition,” and ambush CSA with a

putative class arbitration when he filed his claim with the AAA. He now tries to deflect any

criticism for his conduct by criticizing CSA for not predicting what he would do.

         The reality is that CSA could neither control Benson’s admittedly improper pleadings nor

read his mind. The Arbitrator’s finding to the contrary is not only baseless, it has nothing to do

with the parties’ prior agreement; thus it cannot legitimately serve as a “contractual basis” for

forcing CSA to undergo class arbitration. For this additional reason, the Arbitrator exceeded his

authority under the parties’ Agreement.

C.       If the Court Does Not Vacate the Award, It Should Stay the Arbitration So That
         CSA May Appeal the Issue to the Fifth Circuit.
         Benson asks the Court to deny CSA’s request for a stay under 9 U.S.C. § 12. He says

that, because he has not yet filed a proceeding to enforce the Award, CSA may not obtain a

stay.41 In so doing, Benson fails to realize that the Award is self-executing and does not require

a separate enforcement proceeding. The Award is currently being enforced by the Arbitrator,

who has decided to proceed with a class arbitration rather than staying it pending this Court’s

decision on CSA’s present motion.42 The statute gives this Court the power to stay “proceedings

… to enforce the award.”43 The ongoing arbitration proceedings fit that description.

         Granting a stay now will also promote judicial economy. CSA has raised an important

threshold issue that will have a profound impact on how the arbitration ultimately proceeds and


41
   Response at 24.
42
   See id. (“CSA’s request to stay the arbitration proceedings has already been denied by the Arbitrator … .”).
43
   9 U.S.C. §12.



                                                          9
12712925v.3
     Case 3:08-cv-01735-G Document 29 Filed 09/28/10                        Page 13 of 15 PageID 578



the level of resources it consumes. It makes good sense to stay this arbitration and allow the

issue to be resolved before irrevocably expending those resources. If CSA ultimately prevails on

the issue, then any class-arbitration proceedings that have occurred in the meantime will have

been an extraordinary waste of time, effort and money for everyone involved.

         Finally, Benson asks the Court to toll limitations for “absent class members.”44 Yet he

fails to mention that the entire putative class was recently sent notice of their alleged claims in

conjunction with another lawsuit currently being handled by his counsel.45 Because the “absent

class members” have already been notified of their potential claims, and are free to file

proceedings of their own, there is no legal justification for tolling the statute of limitations.46

Benson’s request for a tolling order should therefore be denied.

D.       Conclusion
         For all of the foregoing reasons, the Court should vacate the Award and find that CSA

did not consent to class procedures. Should the Court deny CSA’s motion, CSA respectfully

asks that the Court stay the arbitration proceedings pending an appeal of this matter to the Fifth

Circuit Court of Appeals.

                                                     Respectfully submitted,

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44
   Response at 24.
45
   Willins v. Credit Solutions of America, Inc., Case No. 3:09-cv-01025-M (N.D. Tex.).
46
   See, e.g., Sims v. Housing. Auth. of El Paso, No. EP-10-CV-109-KC, 2010 WL 3221790, at *3 (W.D. Tex. Aug.
13, 2010) (“To invoke equitable tolling for the pre-opt-in period, … Plaintiffs must show that they diligently
pursued their rights yet were ‘unable to discover essential information bearing on the existence’ of their claim.”)
(quoting Pacheco v. Rice, 966 F.2d 904, 906-907 (5th Cir. 1992)) (emphasis added).



                                                        10
12712925v.3
  Case 3:08-cv-01735-G Document 29 Filed 09/28/10        Page 14 of 15 PageID 579


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                                         11
12712925v.3
  Case 3:08-cv-01735-G Document 29 Filed 09/28/10                Page 15 of 15 PageID 580


                                 CERTIFICATE OF SERVICE

       I hereby certify that, on September 28, 2010, true and correct copies of the foregoing
pleading were served on all counsel of record, as listed below, via ECF filing and/or United
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                                              12
12712925v.3
